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                             UNITED STATES JUDICIAL PANEL
                                          on
                              MULTIDISTRICT LITIGATION


IN RE: SUBOXONE (BUPRENORPHINE/NALOXONE)
FILM MARKETING, SALES PRACTICES, AND
PRODUCTS LIABILITY LITIGATION                                                         MDL No. 3092


                                       TRANSFER ORDER


         Before the Panel: Plaintiffs in eight actions move under 28 U.S.C. § 1407 to centralize
this litigation in the Northern District of Ohio. This litigation consists of fifteen actions pending
in five districts, as listed on Schedule A. Since the filing of the motion, the Panel has been notified
of eleven related actions in nine districts. 1

         Plaintiffs in two actions and the responding Indivior defendants 2 support the motion.
Movants state that plaintiffs in all constituent actions support the motion. The Reckitt defendants 3
respond that centralization in the Northern District of Ohio is appropriate, but that centralization
before rulings on their objections to personal jurisdiction “could result in these defendants being
unnecessarily named in similar lawsuits filed in the future.” The Indivior defendants request, and
movants do not oppose, renaming the litigation to reflect that the MDL encompasses only product
liability claims.

         After considering the argument of counsel, we find that these actions involve common
questions of fact, and that centralization in the Northern District of Ohio will serve the convenience
of the parties and witnesses and promote the just and efficient conduct of this litigation. These
actions share complex factual questions arising from the alleged propensity of Suboxone film,
which is used for the treatment of opiate addiction, to cause dental erosion and decay. Plaintiffs
in all actions allege that defendants designed Suboxone film to be acidic, which they claim leads
to dental erosion and decay when the film is dissolved in the mouth (Suboxone previously was
available only as an ingestible tablet). Plaintiffs allege that defendants knew, but failed to warn,
that Suboxone film causes damage to teeth. The same factual questions regarding general

1
        These and any other related actions are potential tag-along actions. See Panel Rules 1.1(h),
7.1, and 7.2.
2
       Indivior, Inc.; Indivior Solutions, Inc.; and Aquestive Therapeutics, Inc. While these
defendants agree with the relief sought, they dispute certain of plaintiffs’ allegations. This is not
relevant to our determination.
3
       Reckitt Benckiser LLC; and Reckitt Benckiser Healthcare (UK) Ltd.
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causation, including the mechanism of the alleged injury, are present in all cases. Similarly
common are questions surrounding the adequacy of the testing defendants conducted regarding
Suboxone film and the sufficiency of warnings regarding dental problems. Centralization offers
an opportunity to substantially streamline pretrial proceedings, reduce duplicative discovery and
conflicting pretrial obligations, as well as prevent inconsistent rulings on evidentiary challenges
and other pretrial motions.

        The Reckitt defendants’ objection is not well taken. Centralization allows for streamlined
discovery, briefing, and rulings regarding personal jurisdiction of the Reckitt defendants before a
single judge. Cf., e.g., In re Prudential Ins. Co. of Am. Sales Practices Litig., 170 F. Supp. 2d
1346, 1347–48 (J.P.M.L. 2001) (finding that jurisdictional motions “can be presented to and
decided by the transferee judge”).

       Because the litigation does not currently encompass marketing or sales practices claims,
and no party objects, we are persuaded that the litigation should be renamed to “In re: Suboxone
(Buprenorphine/Naloxone) Film Products Liability Litigation.”

         We find that the Northern District of Ohio is the most appropriate transferee district for
this litigation. Thirteen actions are pending in this district, which is centrally located, accessible,
and agreeable to all responding parties. Centralization before the Honorable J. Philip Calabrese
allows us to assign this litigation to a jurist who has not yet had the opportunity to preside over an
MDL.

         IT IS THEREFORE ORDERED that the actions listed on Schedule A and pending outside
the Northern District of Ohio are transferred to the Northern District of Ohio and, with the consent
of that court, assigned to the Honorable J. Philip Calabrese for coordinated or consolidated pretrial
proceedings.

        IT IS FURTHER ORDERED that the caption of this litigation is changed from “In re:
Suboxone (Buprenorphine/Naloxone) Film Marketing, Sales Practices, and Products Liability
Litigation” to “In re: Suboxone (Buprenorphine/Naloxone) Film Products Liability Litigation.”
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                      PANEL ON MULTIDISTRICT LITIGATION




                                     Karen K. Caldwell
                                         Chair

                   Nathaniel M. Gorton           Matthew F. Kennelly
                   David C. Norton               Roger T. Benitez
                   Dale A. Kimball               Madeline Cox Arleo
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IN RE: SUBOXONE (BUPRENORPHINE/NALOXONE)
FILM MARKETING, SALES PRACTICES, AND
PRODUCTS LIABILITY LITIGATION                                    MDL No. 3092


                                      SCHEDULE A


          Middle District of Georgia

    JACKSON v. INDIVIOR, INC., ET AL., C.A. No. 5:23−00425

          Northern District of Illinois

    LONASK v. INDIVIOR, INC., ET AL., C.A. No. 1:23−15300
    ANDERSON v. INDIVIOR, INC., ET AL., C.A. No. 1:23−15323

          Southern District of Illinois

    JOHNSON v. INDIVIOR, INC., ET AL., C.A. No. 3:23−03483

          District of North Dakota

    TROTTIER v. INDIVIOR, INC., ET AL., C.A. No. 3:23−00220

          Northern District of Ohio

    SORENSEN v. INDIVIOR, INC., ET AL., C.A. No. 1:23−01855
    GRAHAM v. INDIVIOR, INC., ET AL., C.A. No. 1:23−01865
    BADALAMENTI v. INDIVIOR, INC., ET AL., C.A. No. 1:23−01876
    KING v. INDIVIOR, INC., ET AL., C.A. No. 1:23−01924
    PIETRO v. INDIVIOR, INC., ET AL., C.A. No. 1:23−02021
    BADALAMENTI v. INDIVIOR, INC., ET AL., C.A. No. 1:23−02022
    SCHIE v. INDIVIOR, INC., ET AL., C.A. No. 1:23−02024
    MILLER v. INDIVIOR, INC., ET AL., C.A. No. 1:23−02026
    ZUBAL v. INDIVIOR, INC., ET AL., C.A. No. 1:23−02081
    BENNETT v. INDIVIOR, INC., ET AL., C.A. No. 3:23−02148
